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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

 

FEDERAL INSURANCE COMPANY,

Civii Acu'on NO; 1;16-@v-03319-DLC
Plaintiff,

ORDER
v.

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SHOWTHVIE ON THE PIERS, INC,, k ~‘

 

 

 

PoR"r PARTlEs,LTD.,and HNN Nf.'it "` I`:"
CONSULTANTS,LTD. §th t _ . ~§§§ _§f;§§§§r WMME
Defendant. l _. 7 '.." ' ~ ~»W-__....,..MS
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THIS MATTER having been brought before this Court by Bressler, Alnery & Ross, P.C.,
attorneys for Piaintiff Federaf Insurance Company and Law Ofiices of Laura A. Brevetti, attorney
for Defendants Showtirne on the Piers, Inc., Port Parties, LTD., and HNN Consultants, LTD.
(collectively referenced as “the Parties”), hereby give notice: (I) that all matters in dispute between
the Parties have been settled; and (2) request that this action be dismissed With prejudice

. itf `
IT IS on this {*7 day of § ¢.. , 2016

ORDERED that the Parties request for this action to be dismissed with prejudice is

%M 5a

UNITED STA?`ES DISTRlCT IUDGE

GRANTED .

